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               EXHIBIT 10
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   Review


   Sonos multi-room system review
   There’s a reason Sonos is so dominant in this sector


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   ⋆ ⋆⋆⋆⋆ By What Hi-Fi? Posted
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     OUR VERDICT



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     It's facing more competition than ever, but no multi-room oﬀering is as
     complete or as pleasurable to live with as Sonos



     * FOR                                             + AGAINST
     Still the best user experience                    Individual speakers can be
     Good service support                              trumped for sound
     Consistent, engaging sound                        No hi-res support
     Regular updates



   For years, Sonos has been synonymous with the concept of multi-room audio,
   so it’s hard to know which came ﬁrst. At the very least, Sonos spotted a trend
   long before its competitors – at most, it’s responsible for making the market
   what it is today.

   Sonos as a system has two big advantages – breadth of choice and simplicity of
   use. In the time its rivals have been playing catch-up, Sonos has launched a
   whole family of products and got onside with a long list of streaming services,
   not to mention nailing the usability aspect of multi-room.

   MORE: Multi-room audio: everything you need to know


     Sonos multi-room system
                                                                                            •
                                                                                            ?




                          Sonos One            amazon $141.14                  VIEW


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         ■                                     blinG $539.69
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                        Sonos Connect                      $307.99            VIEW


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   Speakers




   Sonos One


   The current star of Sonos’s range of wireless speakers is undoubtedly the One
   (above). Matching the ﬁve-star performance of the Play:1 pretty much step for
   step, it builds on the latter’s feature list with built-in Alexa Voice Assistant (and,
   soon, Google Assistant) to become the company’s inaugural smart speaker
   oﬀering.

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   Things have changed on the top plate, where the three buttons of the Play:1
   have been replaced by a touch-sensitive panel decorated with a circle of tiny,
   white LEDs and symbols.

   These represent play/pause, the microphone and Sonos’ now-familiar context-
   sensitive actions, while the white LEDs illustrate when Alexa is switched on.
   Unlike the Play:1, the One also gets a dedicated Pairing button, just above the
   ethernet socket.

   If you want to voice-control music in other rooms, specify where (eg. “Alexa, play
   Bowie in the lounge”) and the One will send music to the Sonos kit you’ve
   ascribed to that ‘zone’ – even a non-Alexa-enabled Sonos speaker, such as a
   PlayBar or Play:5 (below). “Alexa, play Bowie everywhere” sets all your Sonos
   speakers to synchronised Ziggy Stardust mode.

   A combination of noise-cancelling, something called “smart voice capture” and a
   custom-designed six-microphone array also ensures that she can always hear
   you.

   MORE: Sonos deals: The cheapest price on every Sonos speaker




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   Sonos Play:5

   Of course, you can also use Alexa on the One exactly as you do an Amazon
   Echo or Echo Dot, so as well as playing music you can set timers and alarms,
   check the weather, add items to your shopping list – small features, but useful
   nonetheless.

   The One produces a weighty, full-bodied and spacious sound that’s capable of
   going loud for a speaker this small. Voices are clearly projected, bass is solid,
   and treble is crisp and clean. It’s a surprisingly sophisticated sound, and one
   that’s natural and authentic.

   Should you want the same sonic performance without the voice control, you
   can currently pick up the Play:1 for £60 less than the One.

   That general sonic character also carries over to the far larger Play:5, but it’s
   able to produce a far bigger and bolder sound, thanks to its larger chassis and
   extra drivers: three 10cm mid-woofers sit below a trio of tweeters, one front-
   ﬁring and two horned outwards for greater dispersion, and are powered by six
   matching Class D ampliﬁers.

   This is a weighty performance that can easily ﬁll a room without sacriﬁcing the
   clarity or openness of the mid-range. It’s eﬀortlessly listenable, with no hard or
   sharp edges to cause distraction.

   MORE: Sonos: everything you need to know




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   The 'Sonos Architectural by Sonance' Outdoor Speaker


   It loses some of its sheen when compared to the superb sound and
   extraordinary value of the Audio Pro C10, as do most speakers entering the
   Scandinavian brand’s territory, but still represents a ﬁne-sounding option for
   those joining the Sonos family.

   Sonos encourages you to calibrate each speaker using the app’s built-in
   TruePlay feature, which measures pulses ﬁred out from the drivers. It generally
   results in better performance, so it's a shame that, due to inconsistencies in
   Android devices’ microphones, only iOS devices can get in on the action.

   There’s also a Loudness switch for each speaker, which is worth experimenting
   with. Turning it oﬀ can result in greater clarity and tighter bass, particularly if
   the speaker is placed in a corner, but it also reduces weight and scale.

   Sonos has also partnered with Sonance to create the Sonos Architectural by
   Sonance range of speakers, which includes an in-wall speaker, in-ceiling speaker
   and an outdoor speaker (above). These are not Sonos speakers in the usual
   sense, but passive speakers designed to complement Sonos products in terms
   of ﬁnish and sonic character.

   The selling point is that if you connect the Sonos Amp to a pair of Sonance
   speakers, you can use the Trueplay feature to tune the sound to your room.
   With other speakers this isn’t possible.

   MORE: IKEA's Symfonisk Sonos speakers to go on sale in August


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   Hi-ﬁ components




   Sonos Amp


   We’ve long enjoyed the Connect as Sonos’s means of connecting existing hi-ﬁ
   systems to its multi-room network, while until recently the Connect:Amp has
   been the company’s go-to powered version of the streamer.




   But the recent arrival of the Sonos Amp (above) has given customers a new,

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   tantalising option. Even by Sonos's standards, it's an understated device. It's
   only available in black and with three touch-sensitive ‘buttons’ on the front: one
   for play/pause and two that change use with context but are mainly for the
   volume.

   The insides of the new Amp are densely packed, with no dead space. That, of
   course, creates a cooling problem, but the Amp is designed to bring in air from
   underneath and expel it from the top, all without the use of a fan.

   MORE: 32 Sonos tips, tricks and features




   Sonos Amp

   In terms of character, the Amp paints very much with the same bold strokes as
   the rest of its family, revelling in forward-sounding presentations and dealing
   them with gusto and a more-than-respectable level of detail.

   That’s not to say the Amp is overly energetic – it doesn’t attempt to force the
   issue with subtler tracks as some enthusiastically forward-sounding
   components can tend to do – but it doesn’t need asking twice to really throw the
   music at you.

   What restricts it from being a class leader, regardless of the competition from
   Bluesound’s Award-winning Powernode 2i, is a relatively pedestrian sense of
   timing and dynamics.

   Organisation is wavering only when an arrangement tests the Amp at its limits,
   and rhythmically it is far from inept, but there isn’t quite the musicality to oﬀer
   tracks their due expression or drive beats with obvious impetus on leading
   notes.

   As part of a Sonos network, it is an admirable performer, not least for its
   versatility; it just falls short in terms of hi-ﬁ separates, which its rival from
   Bluesound does not.

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   Home cinema




   Sonos Beam

   Sonos’s suite of home cinema components all share the character of the rest of
   the family. Further testament to their talents, is their consistently high ratings in
   our stand-alone tests: the Playbase and Sub were both awarded four stars, with
   the Playbar achieving ﬁve.

   The star, however, is the Award-winning Beam (above). Inside are four full-range
   drivers, one tweeter and three passive radiators, plus ﬁve class-D ampliﬁers. As
   on the Playbar and Playbase, the drivers and radiators are positioned along the
   front and the far edges of the bar, helping to drive sound around your room for
   a more immersive, room-ﬁlling sound.

   Voice control is taken care of by ﬁve far-ﬁeld microphones, which ensure the
   Beam can hear you wherever you are in the room, even when the speaker is


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   blaring music out.

   MORE: 9 Sonos Beam tips, tricks and features




   This isn’t simply a soundbar: it's also a wireless, multi-room speaker that can
   play music from almost any source, pretty much like any other Sonos speaker.

   And it sounds exceptionally good, particularly for its size. Sonos has managed to
   overcome two of the usual limitations of compact speakers: scale and weight.
   Dialogue is also clear and direct, and never drowned out by the rest of the
   action.

   In fact, you might be blown away by the transformation from your TV’s in-built
   speakers. Suddenly you’re getting scale, dynamics, detail and punch and as
   close to the intended performance as you could expect from a £400 speaker.

   It isn’t perfect – there’s a little treble brightness and sibilance is present,
   particularly at higher volumes or with poorly recorded audio – but it’s far less a
   problem than we encountered with the Playbase, for example.

   And while the Beam is almost unbelievably spacious for its size, it doesn’t quite
   fool you into thinking you’re listening to a proper surround sound system.
   Eﬀects stretch right across the front of the room, well beyond the dimensions of
   the screen.

   They don’t, however, stretch up the sides. It’s a deep, spacious, atmospheric
   delivery, with echoes and reverb and three-dimensionality, but it’s not surround
   sound.

   The Beam is, though, about as musical as a dispersive soundbar can be. You
   sacriﬁce some directness due to the angling of the drivers but for a device
   designed ﬁrst and foremost as an AV product, the Beam makes for a solid music
   system, with good tonal balance, bass weight, rhythm and punch.

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   Multi-room performance




   The Sonos app


   The Sonos app is a large part of the system’s charm. As well as walking you
   through set-up, it’s where control of your system takes place, enabling you to
   see what music is playing where and to group speakers together.

   It also oﬀers the widest choice of streaming service compatibility of any multi-
   room system, giving you access to all of your music in one place. Even Spotify is
   properly integrated into the app, where most rivals force you to use Spotify
   Connect. On Sonos though, that’s merely an option.

   Having everything in one place is one of Sonos’s greatest strengths, largely
   because it enables genuine universal search. Search for an artist, album or track
   and Sonos will browse through all music services and local sources connected
   over a home network, such as iTunes libraries and NAS drives.

   It’s a nice touch, especially when most competitors only search one source at a
   time. You’re also able to build playlists and on-the-ﬂy queues directly within
   Sonos, and again from multiple sources.

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   One big gap in Sonos’s oﬀering is its lack of support for hi-res audio, and with
   the likes of Bluesound oﬀering it, it’s a shame Sonos hasn’t followed suit. If you
   try to play anything hi-res you’ll get an error message, so it won’t even
   downsample it. It’s truly out of bounds.

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   The Sonos app


   There’s a question mark over how important hi-res audio is in the context of a
   multi-room system consisting of compact wireless speakers, but the option
   would be nice.

   Otherwise, Sonos supports all the main ﬁle formats, including MP3, WMA, FLAC
   (up to 16bit/44.1kHz), WAV, AAC and AIFF, recommending FLAC format for
   lossless ﬁles to ensure the most accurate indexing.

   Sonos has also recently added Alexa voice control, either through the addition
   of Amazon Echo devices or the Sonos One or Beam, and Google Assistant is
   coming to both devices in July. Buying one of Sonos's own smart speakers gives
   you the best, most seamlessly integrated experience, but adding the
   cheaper Echo Dot to an existing Sonos system gives you the option to control
   the music across your house using your voice.

   The constant updating of its app is testament to Sonos’s dedication to endlessly
   improving, upgrading and evolving its oﬀering, and it makes investment in a
   Sonos system feel like a safe bet.

   MORE: Every What Hi-Fi? Sonos review

   Verdict

   While we still hope that Sonos has a change of heart and adds hi-res support in
   the near future, we don’t believe its absence is a deal-breaker.

   But if you do, you should look at what Bluesound oﬀers. Those looking for a
   simpler, cheaper and better-sounding alternative to Sonos now have the Audio
   Pro option, too.

   But for combining a broad range of accomplished products with comfortably


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   the most substantial selection of streaming services and the most pleasant and
   complete user-experience, Sonos remains one of the best multi-room
   performers.



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